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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

 In re:
                                                   Case No. 23-60036
 GALLERIA 2425 OWNER LLC,
                                                   Chapter 11
           Debtor.

                                    NOTICE OF HEARING


          PLEASE TAKE NOTICE that Debtor’s Emergency Motion for Interim and Final Orders

Authorizing It to Use Cash Collateral (the “Motion”) has been set for hearing on July 13, 2023 at

9:00 a.m. before the Honorable Christopher M. Lopez.

          The emergency hearing will be held via telephone and GoToMeeting. Instructions are as

follows:

             •   Dial-in Telephone No.: 1-832-917-1510
                 Conference Room No.: 590153

             •   To view online, you may connect through the website located at
                 https://www.gotomeeting.com. Click “Join Meeting.” The session ID for the
                 meeting is “JudgeLopez.”


          Date: July 11, 2023

                                             Respectfully submitted,

                                             HAYWARD PLLC

                                             By: /s/ Melissa S. Hayward
                                                 Melissa S. Hayward
                                                    Texas Bar No. 24044908
                                                    MHayward@HaywardFirm.com
                                             10501 North Central Expy., Suite 106
                                             Dallas, Texas 75231
                                             (972) 755-7100 (telephone/facsimile)

                                             PROPOSED COUNSEL FOR THE DEBTOR


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon the attached service list via U.S. mail and/or CM/ECF on July 11, 2023.



                                                   /s/ Melissa S. Hayward
                                                   Melissa S. Hayward




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